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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-601170-CR-LEIBOWITZ


   UNITED STATES OF AMERICA

   v.

   SANJAY SIGNH,

               Defendant.
   _________________________________/

              UNITED STATES OF AMERICA’S SENTENCING MEMORANDUM

          The United States of America respectfully submits this sentencing memorandum for the

   Court’s consideration. Sanjay Singh spearheaded a fraud Ponzi scheme, through which he raised

   approximately $158 million in victim funds and he and his inner circle personally profited more

   than $13 million dollars. Govt. Trial Exs. 119-24 and 119-32. Further, Singh pillaged Royal

   Bengal Logistics’ bank accounts and the investors funds therein gambling it away in the stock

   market. Singh exposed approximately $40 million dollars in investor funds to his amateur

   gambling on mostly meme stocks, ultimately losing over $12 million of investor funds. Singh did

   this over a four-year period as he watched Royal Bengal Logistics slip further and further into

   debt, all the while lying to investors about the profitability of the business. During this time, Singh

   also pitched his investors new investment opportunities and businesses. Based on all of this, this

   Court should sentence Defendant Sanjay Singh to 300 months' imprisonment to punish him for his

   significant criminal misconduct, protect the public from further crimes, and deter others from

   committing similar economic crimes. The evidence overwhelmingly shows that Singh was the

   leader/organizer of a Ponzi scheme that defrauded almost 2000 victims, a large majority of them

   being working class Haitian south Florida residents. The court-appointed Receiver estimates the
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   actual loss amount close to $100 million. Singh controlled all aspects of the fraud scheme

   including, most importantly, all the many bank accounts that received the victims' money. Finally,

   when Singh realized that the exposure of his fraud was imminent, he attempted to shift ownership

   and responsibility of the company to his general counsel, Elizabeth Hueber, so that she could

   ultimately be left to steer the sinking ship. Govt. Trial Ex. 26-15; Exhibit 1.

                                     SENTENCING PRINCIPLES

                                           18 U.S.C. § 3553(a)

          After United States v. Booker, 543 U.S. 220 (2005), a sentencing court need only consider

   the factors in 18 U.S.C. § 3553(a) and determine a reasonable sentence. United States v. Talley,

   431 F.3d 784, 786 (11th Cir. 2005). We address the relevant factors below. While the Court must

   consider all the relevant factors, it “need only acknowledge that it considered [them], and need not

   discuss each of these factors in either the sentencing hearing or in the sentencing order.” United

   States v. Amedeo, 487 F.3d 823, 833 (11th Cir. 2007). The Court may give greater weight to some

   factors than others. See United States v. Shaw, 560 F.3d 1230, 1238 (11th Cir. 2009).

                               Punishment for White-Collar Criminals

          The Eleventh Circuit has said “economic and fraud-based crimes” are “more rational, cool,

   and calculated than sudden crimes of passion or opportunity,” and thus “prime candidate[s] for

   general deterrence.” United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (citing

   Stephanos Bibas, White-Collar Plea Bargaining and Sentencing After Booker, 47 Wm. & Mary

   L.Rev. 721, 724 (2005)). Indeed, the legislative history of Section 3553 shows Congress

   recognized “the critical deterrent value of imprisoning serious white-collar criminals, even where

   those criminals might themselves be unlikely to commit another offense[.]” Martin, 455 F.3d at

   1240 (citing S. Rep. No. 98-225, at 76, 91-92 (1983)). The Eleventh Circuit also observed that



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   “[d]efendants in white collar crimes often calculate the financial gain and risk of loss, and white

   collar crime therefore can be affected and reduced with serious punishment.” Martin, 455

   F.3d at 1240 (emphasis added).

          A.      The nature and circumstances of the offenses. See 18 U.S.C. § 3553(a)(1).

          Singh ran a four-year-long Ponzi scheme where he caused $158 million dollars of victim

   funds to be transferred to his businesses’ bank accounts. The Defendant knew no bounds when it

   came to recruiting victims for this scheme, recruiting heavily in the Haitian community, and

   specifically targeting Haitian churches in South Florida and even one in Massachusetts. The

   Defendant and his cohorts used the cover of the church as a mechanism to quell any concerns about

   the fraudulent nature of their businesses, even receiving checks where the funds were drawn

   straight from church bank accounts. Govt. Trial Exs. 105, 105-1,105-2, 106, and 111. Further, the

   Defendant and his representatives routinely lied about the profitability of the businesses to make

   victims comfortable with their investments and encourage subsequent investments. And there

   should be no question about the Defendant’s knowledge of the failure of his businesses and the

   businesses’ inability to turn a profit because he was on every single one of the bank accounts and

   wielded individual control over the accounts.

          At trial, the Court heard that the Defendant controlled Royal Bengal Logistics and his other

   side enterprises with an iron fist, hiring, suspending, and firing employees at a whim and keeping

   complete control over the bank accounts. This Court heard testimony about Singh engaging in

   parking lot arguments with employees and even suspending his own wife, one of the few people

   with access to the Royal Bengal Logistics bank accounts.

          Additionally, Singh’s frequent and substantial transfers into and out of the stock market

   demonstrate his true fraudulent nature and his overall disregard for the victims’ funds and the



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   wellbeing of the actual businesses he purported to be trying to make profitable. One example not

   introduced at trial, but discovered by law enforcement, comes from former Royal Bengal employee

   Ricardo Guttierez and his bank records. Guttierez said that Singh once offered to help teach him

   how to trade stocks and stated that he would give him access to money to do so. Exhibit 2

   (highlighted). From August 2021 to June 2022, Singh used Royal Bengal Logistics accounts

   ending in 4380 and 6001 to transfer $773,500 to Guttierez’s bank account, then his TD Ameritrade

   trading account. Govt. Trial Exs. 20-1 and 20-2; Exhibit 3. Money was moved into and out of this

   trading account for approximately 9 months, with stock trading taking place in between. The stock

   trading resulted in a loss of $156,309. Id. The remainder of the money was transferred back to the

   Royal Bengal accounts. This is further evidence that this Court should reject any argument that

   Singh was merely a struggling businessman attempting to do everything in his power to make a

   profit to properly compensate his investors. Singh was clearly using the Royal Bengal accounts as

   his personal piggy banks, operating with a complete disregard for the people he fraudulently

   claimed to be making millionaires.

          At trial, the Government presented evidence of the Defendant’s fraudulent intent and

   carelessness as it relates to the victims’ funds in the form of evidence demonstrating the various

   lies he told investors about the success of Royal Bengal. For example, the Government introduced

   trial exhibit 1-19 where Sanjay Singh texted his investors the following:

          [2/9/23, 8:32:25 AM] Sanjay Singh Truck: Good Morning : We are exited to report that in
          the Year of 2022 RBL Transacted (98Million) Little bit Shy of (98Million) 100 Million
          Dollars. 330% Investor Growth from Year 2021. In 2022 We have paid Short Term interest
          to our Investors 3.5 Million Dollars (ONLY INTEREST)

   Royal Bengal Logistics never generated revenue anywhere near that amount of money. And this

   was only one example of the fraudulent representations presented at trial that Singh made directly

   to the investors. The Government also introduced a zoom video, Govt. Trial Ex. 15-12, where

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   Singh falsely claimed that he turned 16.5 million into $21 million in profits for investors over a

   three-year period from January 2020 to January 2023. Singh went on to say that the business was

   not running “as a scheme or by luck” and that it was “not a scam.” In that same video, he introduced

   the recently hired retired North Miami Beach Police Chief, Richard Rand, to comfort potential

   investors and assure them that Royal Bengal was not a scam. And finally, in Govt. trial exhibit 15-

   31, Singh lied to investors at the 2023 banquet telling them that Royal Bengal “did 97 million

   dollars of business.” All these lies are demonstrative of the nature of this Defendant’s crime and

   his personal characteristics. Singh was willing to lie with impunity to continue his scheme and fuel

   his desire to gamble the victims’ money in the stock market.

          Lastly, Singh sunk thousands of dollars into the production of “Driving the American

   Dream” and had the video posted on Amazon’s Prime Video platform for all the world to see so

   that he could continue to promote his “profitable” business. Govt. Trial Ex. 15-22. The Defendant

   promoted this video all while secretly knowing of the business’ failures and being warned that

   some of the lofty representations made in the video could constitute fraud. Govt. Trial Ex. 26-9;

   Exhibit 4. This Defendant’s conduct rises to a distinct level of malice, that is that he spent money

   to promote the business and went into churches to recruit blue collar workers to invest their hard-

   earned wages in a business that he knew was failing from the beginning all so that he could gamble

   the money in the stock market.

          And how do we know that Singh knew his business was failing from the very beginning?

   Govt. Trial Ex. 115-8 shows that on January 17, 2020, Singh engaged in an email exchange with

   a lender where he acknowledged that his business was failing. The email exchange in pertinent

   part read as follows:

          Lender:



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          “Your actions constitute FRAUD and a breach of your Personal Guarantee of
          Performance.”

          Response by Singh:

          “I am not sure how to explain you but the Bussiness [sic] is struggling to keep up. I am
          trying to fix it but something or the other is escalating the problems just like this.. if you
          guys just stay calm I will be able to revert the Bussiness [sic] to a better position.

          I cannot offer you more explanation. If you take any further step or action it may just shut
          down the Bussiness [sic] and there will be no other future invoices to pay you by. Right
          now we are just limping through each day.

          Please cooperate and standby.. I will revert to you when circumstances comes [sic] to
          normal. It should become normal in the coming days/or few weeks if you let me just run
          the Bussiness [sic] and not indulge me in any other legal action or processing's [sic].

   From that date, the business never corrected course, and it continued to fail. Singh knew this

   because he had control over all the bank accounts. Additionally, for much of the business’

   existence, he contracted with the accounting firm, Forrest Robinson, allowing him to see financial

   statements for the business throughout the years.

          All the above evidence underscores the despicable nature and circumstances of the

   Defendant’s offense. However, the best evidence of the seriousness of this offense is the impact it

   had on the victims. As their trial testimony and impact statements show, they were devastated by

   this fraud. As such, a 300-month sentence is appropriate.

          B. The history and characteristics of the Defendant. See 18 U.S.C. § 3553(a)(1).

          While the Defendant does not have a criminal history, the Defendant’s actions in this case

   and his post-arrest conduct should adequately inform this Court of his true character.

          For example, the characteristics of this Defendant were clearly on display in his May 3,

   2024, messages with Murvat Musa. In those messages, Singh states that he is going to “crush” the

   Government, that the Government “lied about everything,” and even attempts discuss continuing

   to lease a smaller portion of the land in Lubbock. Exhibits 5 through 13. These messages when

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   juxtaposed against the evidence now in the record demonstrating that the Defendant knew that his

   business was failing, establish that at best he was unwilling to accept responsibility for his actions

   post-indictment, and at worst he was seeking to continue his fraud.

          Singh’s true character was again put on display when he lied to the Court about how much

   money he had to contribute to the cost of his own defense. As covered in DE 245, the

   Government’s Motion to Remand, Singh represented to the Court that he was indigent while

   transferring money through different stock trading accounts all after his arrest for his role in this

   multi-million-dollar Ponzi scheme.

          And finally, Singh’s character was on display when he was terminated from his Court

   mandated post-indictment employment at a Motel because he stole from the cash register. As the

   Government also covered in DE 245, Singh left his place of employment with cash from the

   register in the early morning hours of his solo shift, leaving the business unattended and allegedly

   depositing the money into a crypto ATM. Signh made up a story claiming to be defrauded, but

   even the owner of the Motel did not believe his story. Singh returned the money, but never returned

   to work. And again, Singh engaged in this conduct while on supervision with a mandatory

   condition that he maintain employment. Singh’s penchant for fraud is clear separate and apart from

   the fraud scheme he stands convicted of in this case. As such, the 300-month sentence requested

   by the Government is appropriate.

          C.      The need for the sentence imposed to reflect the seriousness of the offense, to
                  promote respect for the law, and to provide just punishment for the offense;
                  general deterrence; and specific deterrence. See 18 U.S.C. § 3553(a)(2)(A), (B),
                  (C).

          The Eleventh Circuit has explicitly emphasized the significance of “general deterrence . . .

   in white-collar cases, where the motivation is greed.” United States v. Hayes, 762 F.3d 1300,

   1308-09 (11th Cir. 2014); see also, e.g., United States v. Kuhlman, 711 F.3d 1321, 1328–29 (11th

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   Cir. 2013) (vacating, as substantively unreasonable, sentence of time served, which represented a

   57-month downward variance, for defendant responsible for $3 million health care fraud scheme,

   noting that “[s]uch a sentence fails to achieve an important goal of sentencing in a white-collar

   crime prosecution: the need for general deterrence,” and that “[w]e are hard-pressed to see how a

   non-custodial sentence serves the goal of general deterrence.”), cert. denied, 134 S. Ct. 140, 187

   L. Ed. 2d 38 (2013). Although Singh has no criminal history, estimates suggest that more than

   seventy percent of fraud offenders, which includes the vast majority of white-collar offenders,

   have little or no criminal history.      See Selected Sentencing, Guideline Application, and

   Demographic Information for § 2B1.1 Offenders, Fiscal Year 2012, U.S. SENT’G COMM’N

   (Sept. 18, 2013).

           This suggests a particular need to deter those in the community who lead otherwise law-

   abiding lives, but, like Singh, chose to commit fraud for years, without getting caught. Moreover,

   courts have also found that, in the context of white-collar crime, positive employment history is

   no mitigating factor, particularly where, as here, the employment history enabled and/or served as

   the vehicle for the offenses of conviction. See, e.g., United States v. Whitehead, 559 F.3d 918, 921

   (9th Cir. 2009) (Gould, K., dissenting from denial of rehearing en banc) (“We can hardly be

   surprised if a white-collar criminal has a good employment history – otherwise, he or she would

   likely not be in a position to commit the crime.”).

          The Government has already cited “the critical deterrent value of imprisoning serious

   white-collar criminals[.]” Martin, 455 F.3d at 1240 (citation omitted; emphasis added). The

   Defendant’s outright defiance and dishonesty throughout this case show that he is a potential

   recidivist. As previously stated, even after Defendant was indicted, he was still shamelessly

   reaching out to Murvat Musa about continuing his failing businesses. Additionally, this Court saw



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   how Singh treated victims such as Pasha Williams in his e-mails with her, Government’s trial

   exhibits 7-1 through 7-8. He treated them with total disdain when they dared question his

   businesses and his flawed business practices. Additionally, the fact that the Defendant’s crimes

   were motivated by greed and arrogance make him particular danger for recidivism.

          The Defendant’s argument that the fraud Guidelines double-count by applying

   enhancements already factored into the loss amount because loss amount operates under the

   assumption that a larger loss amount reflects a higher level of sophistication of scheme, greater

   number of victims, higher amount of personal gain, and a greater abuse of power by the defendant

   is without merit. The Defendant does not cite legislative intent or case law for this proposition.

   Additionally, those arguments are simply not relevant in this case where the high loss amount, the

   number and type of victims, the financial hardship they experienced, and the sophistication of the

   scheme are all independent factors with little to no overlapping characteristics. The loss amount is

   well over $100 million, and that fact does not independently speak to the sophistication of the

   scheme or hardship placed on the victims. The scheme could have been simple, and the victims

   could have been wealthy, here however, that was not the case. The scheme was complex with

   multiple businesses, business accounts, lots of bank transfer, and various investment proposals

   spanning over five years. Additionally, the victims were largely working class and many of them

   experienced catastrophic loss due to the Defendant’s actions. This Court should properly consider

   all these factors and associated the guideline enhancements independently and sentence the

   Defendant accordingly.

          A long sentence in this case will send a strong message, not only to the victims of this

   offense, but to the many would-be Ponzi schemers who intend to use South Florida as a base of

   operations.



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          D. The need to avoid unwarranted disparities with similarly situated offenders:

          A guidelines sentence is necessary to avoid unwarranted disparities with defendants who

   have committed crimes of similar scope. The Defendant directed the Court to a small handful of

   out of district cases, however, the Government respectfully requests the Court to consider the

   following cases:

      •   United States v. Johanna Garcia, No. 23-CR-20350-MARTINEZ (S.D. FL. 2024)
          (sentencing defendant to 20 years imprisonment for pleading guilty to defrauding
          thousands of victims in a Ponzi scheme resulting in a loss amount of almost $90 million).

      •   United States v. Robert Shapiro, No. 19-CR-20178-ALTONAGA (S.D. FL. 2019)
          (sentencing defendant to 20 years imprisonment for defrauding thousands of victims in
          Ponzi scheme, and an additional consecutive 5 years' imprisonment for tax evasion).

      •   United States v. Edwin Fujinaga, No. 2:15-cr-00198-GMN-NJK (D. Nev. June 17, 2019)
          (D.E. 338) (following trial, sentencing defendant to 50 years’ imprisonment for his role in
          spearheading a fraud and $1.12 billion Ponzi scheme, which involved approximately
          10,000 Japanese victims).

      •   United States v. Norman Schmidt, 594 F.3d 1270, 1272 (10th Cir. 2010) (sentence of 330
          months for defendant who orchestrated Ponzi scheme with investor losses of approximately
          $40 million deemed reasonable; defendant was sentenced post-trial).

      •   United States v. Arthur Lamar Adams, No. 3:18-cr-00088-CWR-LRA (S.D. Miss. Nov. 8,
          2018) (D.E. 21) (sentencing organizer and leader of approximately $165 million Ponzi
          scheme, involving approximately 200-300 investor victims, to 27 years’ (325 months’
          imprisonment) following entry of guilty plea).

      •   United States v. Kevin Merrill, No. 1:18-cr-00465-RDB-1 (D. Md. Oct. 11, 2019) (D.E.
          146) (sentencing organizer/leader of estimated $396 million Ponzi and fraud scheme to 22
          years’ (240 months’) imprisonment, following entry of plea agreement; defendant’s wife
          was also involved, and unlike here, she was also charged and convicted).

      •   United States v. Antonio Carlos De Godoy Buzaneli, No. 0:17-cr-00284-MJD-HB (D.
          Minn. Apr. 10, 2019) (D.E. 132) (following guilty plea, sentencing defendant, who was
          also a South Florida man, and who spearheaded an approximately $150 million Ponzi and
          investment fraud scheme involving Brazilian factoring, to 20 years’ (240 months’)
          imprisonment, and to pay restitution of approximately $51 million).



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      •   United States v. Raymond Montoya, No. 18-10225-GAO (D. Mass. Mar. 25, 2019) (D.E.
          44-46) (sentencing defendant who spearheaded $38 million Ponzi scheme to 175 months’
          imprisonment following guilty plea, where guidelines range was 210-262 months).

      •   United States v. Lee Loomis, No. 12-cr-00315-JAM (E.D. Cal. Oct. 5, 2018) (D.E. 699)
          (following guilty plea, sentencing defendant who spearheaded approximately $10 million
          Ponzi scheme to 12 years’ (144 months’) imprisonment, in case involving approximately
          183 investor victims).

          In formulating its sentencing recommendation, the United States has also considered

   sentences imposed in the following white collar cases in this District, some of which involved less

   serious conduct, in terms of duration and victim impact, as compared to the conduct at issue here:

      •       United States v. Leonard Bogdan, No. 05-14090-CR-Martinez (S.D. Fla.) (sentence of
              360 months involving investment fraud with approximately 191 victims and loss of
              approximately $11.5 million).

      •       United States v. Darryl Burke, No. 13-20616-CR-Cohn (S.D. Fla.) (sentence of 360
              months in connection with bank fraud involving more than $7 million in losses for
              numerous fraudulent mortgages).

      •       United States v. Domenico Rabuffo, No. 14-20008-CR-Moore (S.D. Fla.) (sentence of
              327 months in connection with bank fraud involving more than $27 million in losses
              for numerous fraudulent mortgages and approximately 50 victims).

      •       United States v. Monte Grow, No. 16-CR-20893-FAM (S.D. Fla.) (sentence of 262
              months for pharmacy fraud involving $39 million loss to Medicare).

      •       United States v. Serge Francois, No. 16-20399-CR-Gayles (S.D. Fla.) (sentence of 204
              months for owner of pharmacy involving $30 million fraud loss).

      •       United States v. Jose Carlos Morales, No. 12-20644-CR-Lenard (S.D. Fla.) (sentence
              of 144 months for owner of pharmacy who pleaded guilty to health care fraud involving
              a loss of $23 million).

      •       United States v. Scott Rothstein, No. 09-60331-CR-Cohn (S.D. Fla.) (imposing post-
              plea (and post-cooperation) sentence of 600 months for wealthy attorney who
              orchestrated $1.2 billion Ponzi scheme involving bogus settlement agreements for over
              four years).
      •       United States v. Raoul Doekhie, et al., No. 18-20919-CR-Altman (S.D. Fla.) (imposing
              post-trial sentence of 220 months on three business partners who cheated U.S.
              manufacturers out of infant formula, eye-care products, and other FDA-regulated items
              worth more than $100 million).

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          Here, the Court need not be concerned with sentencing disparities between this Defendant

   and potential coconspirators because none of the potential coconspirators had access to the

   information that the Defendant had access to regarding the business. Singh was the only one with

   access to the business’ loans, monthly revenue, bank account balances and transfers, and debt.

   Finally, here the victims were mostly unsophisticated investors, setting this case apart from many

   other investment frauds, and the victims numbered in the thousands.

                                           CONCLUSION

          For the foregoing reasons, the Court should sentence the Defendant to 300 months’

   imprisonment in accordance with the advisory guidelines range, and to accomplish the goals of

   sentencing set forth in 18 U.S.C. § 3553.


                                                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk of

   the Court using CM/ECF.
                                                          By:    /s/ Robert F. Moore
                                                                 Robert F. Moore




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